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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                          SOUTHERN DIVISION


Maryland Chapter of the Sierra Club,
et al.,

                             Plaintiffs,
      v.
                                           Case No.: 8:22-cv-2597-DKC
Federal Highway Administration, et al.,

                             Defendants.



Northern Virginia Citizens Association,


                             Plaintiff,
       v.
                                           Case No.: 8:22-cv-03336-DKC

Federal Highway Administration, et al.,


                            Defendants.



               STATE DEFENDANTS’ CROSS-MOTION FOR
              SUMMARY JUDGMENT AND OPPOSITION TO
            PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                   INTRODUCTION

   Traffic congestion on I-495 (the Capital Beltway) and I-270 is a frustrating reality for

citizens across the Greater Washington Metropolitan region. Even with the recent expo-

nential growth in teleworking, the longstanding concept of a rush ”hour” is no longer valid.

Traffic along I-495 and I-270 is now experienced eight-to-twelve hours a day. See AR.4378

(FEIS, Appendix C Final Covid-19 Travel Analysis & Monitoring Plan, Attachment 1E -

2021 data). With regional population expected to grow by nearly 1.2 million people by

2045, Maryland travelers using these highways and adjacent roads will continue to confront

worsening traffic congestion, which negatively impacts their quality of life. AR.268 (FEIS

at 1-4)

   Recognizing these serious challenges, the State of Maryland embarked on the environ-

mental study at issue in this case in order to engage residents and experts in identifying and

balancing the impacts associated with potential transportation solutions with impacts on

Maryland’s diverse communities and our rich cultural and natural resources.

   Years of planning studies across our region show that no one solution will resolve all

traffic problems in and around these two highway facilities, among the most congested in
the entire state. Instead, a layered solution is needed. Improved transit and increased tel-

ework are part of the overall plan. Even recognizing potential impacts to community and

environmental resources, reasonable traffic management tools sometimes involve building

additional capacity. This project study is about a traffic management tool: new toll lanes

(called “managed lanes”) along I-495 and I-270. In addition to maintaining all free general-

purpose lanes on these highways, two tolled and high occupancy managed lanes will be

designed from just south of the American Legion Bridge to the I-370 intersection on I-270




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to assure travelers a fast, reliable trip and enhanced connections to other transit and trans-

portation facilities.

    Between 2018 and 2022, the Maryland Department of Transportation State Highway

Administration (MDOT) and the Federal Highway Administration (FHWA) carefully stud-

ied the proposed managed lanes’ benefits and impacts, as well as potential project alterna-

tives. In so doing, MDOT reached out to other agencies, technical experts, and the public.

The transparent and comprehensive dissemination of information regarding the effects and

benefits of the proposed managed lanes, and the encouragement of input from the general
public and key stakeholders, led MDOT to select a narrower project than had been origi-

nally recommended.

    From the full spectrum of issues studied by MDOT during the course of its environ-

mental review, Plaintiffs raise several narrow claims. While they acknowledge that a re-

viewing court should not “flyspeck” an agency’s environmental impact statement, Plain-

tiffs’ summary judgment brief does just that. Their flawed narrative, replete with selective

and misleading citations to the record, fails to reveal inadequacies in either MDOT’s anal-

ysis or in the process used to prepare the environmental impact statement.

    A review of the project administrative record in this case reflects that MDOT took great

care to consider, avoid, and minimize project impacts. 1 When not all adverse impacts could

be avoided, MDOT committed to a broad range of mitigation to address impacts to park-

land, and to sensitive cultural and environmental resources. MDOT’s outreach to all inter-

ested parties, especially environmental justice communities, was robust and fair. The ad-

ministrative record shows that MDOT listened and responded to public input on the project




1
  Many of the most important documents in the record are available on the project’s web-
site, oplanesmd.com/environmental.


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proposal. MDOT substantially reconsidered its original preferred alternative, and in so

doing drastically reduced the project’s scope and impacts.

   Plaintiffs’ objections to MDOT’s analysis or process find no support in applicable law

and are contradicted by the contents of the thorough project record. First, the administra-

tive record reflects a careful and reasonable analysis of potential traffic benefits. Plaintiffs

offer a consultant to poke holes in MDOT’s traffic modeling, but the agency’s methodol-

ogy properly relied on and implemented regionally approved and industry-accepted mod-

els. Plaintiffs’ narrow claims concerning the traffic analysis fail to undermine the overall
conclusion that managed lanes will reduce congestion. Second, with respect to air quality

concerns, Plaintiffs do not challenge the agency’s conclusion that the proposed action com-

plies with current air quality standards. Instead, they argue that the environmental review

should have applied different standards for one air pollutant and conducted additional anal-

yses that have not yet been required by federal regulators. Plaintiffs are entitled to advocate

that the federal government adopt new air quality standards, but an environmental impact

statement is not the appropriate venue for such advocacy. Plaintiffs’ policy dispute does

not undermine MDOT’s analysis in this case.

   Third, MDOT’s robust outreach to minority and economically disadvantaged commu-

nities, and the agency’s detailed assessment of project impacts to those communities de-

feats Plaintiffs’ claims regarding environmental justice. Using accepted data from the fed-

eral and state governments, MDOT reasonably concluded that the managed lane project

would not result in disproportionate, high, and adverse impacts to environmental justice

communities. Fourth, Plaintiffs lack standing to assert claims related to alleged impacts of

this project to Virginia communities on the other side of the American Legion Bridge.

Even if they could demonstrate standing, Plaintiffs fail to connect this project’s impacts to

the property interests across the Potomac River. They have already tried and failed to stop



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an unrelated Virginia Department of Transportation project that is the true basis for their

concerns.

   Fifth, Plaintiffs’ allegations concerning parkland and historic resources also fail. There

is no evidence that the managed lanes project will infringe upon the historic Morningstar

Tabernacle No. 88 Moses Cemetery property or on those burials outside the previous un-

derstood cemetery area. In order to address even the unlikely identification of additional

burials within the limits of disturbance, an approved programmatic agreement, concurred

to by experts and the State Historic Preservation Officer, was executed under the National
Historic Preservation Act. And finally, Plaintiffs ignore MDOT’s intensive efforts to eval-

uate and minimize potential impacts to parkland in the study areas, including to Plummers

Island, a portion of the C&O Canal National Historic Park.

   In sum, the claims set forth in Plaintiffs’ Complaint and detailed in their Motion for

Summary Judgment, fail to present a genuine issue of material fact or establish any claim

as a matter of law. Their arguments reflect, instead, a policy disagreement with the deci-

sion to build managed lanes on I-495 and I-270. However sincere, a policy disagreement

is insufficient to overturn an agency’s decision under the Administrative Procedure Act.

Plaintiffs cannot establish that MDOT’s review and analysis of this important transporta-

tion improvement project, and FHWA’s final decision approving the project, was arbitrary

or capricious or otherwise violated any applicable law.




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                                     BACKGROUND

   As noted above, Plaintiffs do not challenge that the National Capital Region is the most

congested in the country as measured by annual delay and congestion per commuter. AR.5

(ROD at 2). They do not challenge that traffic congestion in the region impacts Mary-

landers’ quality of life and it is only getting worse. 2 They do not challenge that MDOT

and FHWA have spent years identifying these needs and developing an overall plan which

includes a variety of solutions. Instead, they argue narrow points that neither undermine

the need for the managed lanes project nor challenge the reasonableness of the agencies’

environmental review.

       A.      Regional transportation agencies have long studied the impact of traffic
               congestion and recognized managed lanes as part of the regional plan.

   Maryland roads hit an all-time high in vehicle miles traveled in 2019. AR.268 (FEIS

at 1-4). The intense demand for travel in the region leads to more vehicles on the road.

AR.269 (FEIS at 1-5). That means slower speeds, more crashes, standstill traffic, and

slower emergency response times. AR.269 (FEIS at 1-5, 1-8). All of this hurts trip relia-

bility, leaving travelers, whether in cars or buses, unable to predict how long it will take to

get to work, daycare or schools. AR.270 (FEIS at 1-6). It makes bus lines and connection

to other transit uncertain. AR.270 (FEIS 1-5 through 8) And the same problems spill over

into the movement of goods and services, a critical part of the region’s economy AR.273

(FEIS at 1-9). The FHWA concurred with these critical impacts on Maryland’s travelers.
AR. 5-6 (ROD at 4–5).




2 Montgomery County, Maryland saw its population increase by more than 20% from 2000

to 2020. AR.267 (FEIS at 1-3). Experts foresee another 16% leap between 2020 and 2045.
AR.267 (FEIS at 1-3).


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    The federal, state, and local agencies responsible for relieving these traffic congestion

problems have been studying ways to do so for nearly two decades. AR.266–69 (FEIS at

1-2–1-5); AR.6 (ROD at 3). Appendix A to the draft environmental impact statement cat-

alogues those studies. AR.36073–78 (DEIS App. A at 4–9). As Appendix A explains,

every study agrees that no single project—highway or transit—can untangle the region’s

traffic snarls. AR.36083 (DEIS App. A at 12); see AR.6 (ROD at 3). What the region

needs instead is a “synergistic system of transportation solutions.” AR.6 (ROD at 3).

    Considering the collective judgment of these studies, the Metropolitan Washington
Council of Governments’ Transportation Planning Board in 2017 approved ten regional

traffic relief concepts for further study. AR.6 (ROD at 3). Those concepts included both

transit projects like the Purple Line light rail and traffic management projects like managed

lanes on I-495 and I-270. AR.6 (ROD at 3).

    Managed lanes are special highway lanes that are separated from the rest of the traffic.

AR.249 (FEIS at ES-8). Access to them is regulated by requiring a toll for most vehicles.

AR.21 (ROD at 18). When traffic in general-purpose lanes increases, so does the cost of

using the managed lanes. AR.21 (ROD at 18). That way, the managed lanes maintain a

free flow of traffic. AR.21 (ROD at 18). Such managed lanes already exist—and have

proven helpful—around most of I-495 in Virginia. AR.316 (FEIS at 3-32).

    The I-495 and I-270 managed lanes will give travelers choices. If they ride the bus or

join a carpool, they can use the managed lanes for free. AR.272 (FEIS at 1-8). If they are

alone and running late, they can pay to use the managed lanes. AR.272 (FEIS at 1-8). And

if they prefer to use transit, like Metrorail, they will have an easier time reaching a station.

AR.272 (FEIS at 1-8). Meanwhile, drivers who choose to stay in the unchanged, free,

general-purpose lanes will also face less traffic. AR.272 (FEIS at 1-8).




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       B.       MDOT evaluated alternative managed lanes, transit, and other trans-
                portation tools to address the existing and growing congestion on I-495
                and I-270

   Following the Transportation Planning Board’s suggestion, MDOT and FHWA began

preparation of an environmental impact statement for managed lanes on I-495 and I-270,

publishing a notice of intent in early 2018. AR.55593–94 (Notice of Intent). Working

with other federal, state, and local agencies, and gathering input from the public, MDOT

and FHWA established that the purpose of any project targeting traffic problems should be

“to address congestion, improve trip reliability on I-495 and I-270 . . . and enhance existing

and planned multimodal mobility and connectivity.” AR.266 (FEIS at 1-2). That purpose,

the agencies found, would address the region’s needs to:

       •    accommodate existing traffic and long-term traffic growth;

       •    enhance trip reliability;

       •    provide more roadway travel choices;

       •    improve movement of goods and services; and

       •    accommodate homeland security.

AR.266 (FEIS at 1-2); see AR.36084 (Purpose and Need Report at 13-14).

   With this purpose and need in mind, MDOT developed 15 preliminary alternatives for

further review. AR.278–79 (FEIS at 2-1–2-2). Those alternatives ran the gamut from no

action, to building more general-purpose lanes or managed lanes, to creating stand-alone

transit. AR.279 (FEIS at 2-2). From there, MDOT and FHWA applied screening criteria

tied to the project’s purpose and need, while at the same time considering the alternatives

in the context of other projects already included in long-range regional planning. AR.281

(FEIS at 2-4). With participation of federal and state agencies, this screening process

trimmed the list of alternatives to seven. AR.282 (FEIS at 2-5). Each of those seven




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alternatives received more detailed analysis in a draft environmental impact statement.

AR.282–83 (FEIS at 2-5–2-6); see AR.35791–98 (DEIS at 2-24–2-31).

       C.      The agencies used every available tool to gather public input on the
               draft environmental impact statement before recommending a pre-
               ferred alternative.

   The draft environmental impact statement (EIS), published in July 2020, was available

for four months of public comment. AR.242 (FEIS at ES-1). During that comment period,

MDOT confronted the challenge of the covid-19 pandemic. It used every tool available—

and some tools that it had to innovate—to ensure effective public engagement. For exam-

ple, MDOT advertised widely on news and social media outlets, held both in-person and

virtual meetings, and put modular libraries around the study area that allowed safe review

of project documents. AR.586–99 (FEIS at 8-2–8-15). These new, creative ways of reach-

ing the public have since found a permanent place in MDOT’s toolbox, as many people

found it easier to see and comment on the draft EIS. AR.29 (FEIS at 26).

   In January 2021, after reviewing all comments on the draft EIS, MDOT announced its

recommended preferred alternative. AR.25 (ROD at 22). That alternative—known as Al-
ternative 9—would have created two managed lanes in each direction on I-495 from the

George Washington Memorial Parkway in Virginia all the way to Maryland Route 5 in

Prince George’s County, as well as on I-270 from I-495 to I-370. AR.282 (FEIS at 2-5);

AR.25 (ROD at 22). As encouraged in the NEPA process, this announcement spurred even

more debate. After several more months of evaluating public and agency input on Alter-

native 9, MDOT and FHWA announced a modified preferred alternative: Alternative 9 –

Phase 1 South. AR.25 (ROD at 22); AR.284 (FEIS at 2-7).




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       D.      Based on public input, MDOT changed the preferred alternative to re-
               duce impacts and encouraged additional input.

   The agencies’ modified preferred alternative still included two managed lanes in each

direction, but those lanes extended only from the GW Parkway to Maryland Route 187 on

I-495 and from I-495 to I-370 on I-270. AR.284 (FEIS at 2-7). The total length of managed

lanes went from 48 miles to 15 miles. AR.284 (FEIS at 2-7). The final preferred alternative

appears below (in dark blue):




AR.4 (ROD at 2).

   A supplemental draft EIS documented the new preferred alternative’s benefits and im-

pacts. AR.27343–630 (SDEIS). It would still replace the American Legion Bridge—a

major traffic bottleneck—and use managed lanes to reduce congestion. AR.284 (FEIS at

2-7); AR.26–27 (ROD at 23–24). It would improve traffic conditions both for local drivers

and for people traveling longer distances on I-95, the key highway linking Florida and

Maine. AR.28 (ROD at 25). Beyond that, the new preferred alternative addressed the

public’s questions about the impacts of a 48-mile route. AR.26 (ROD at 23).


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   The supplemental draft EIS explained how the new preferred alternative would avoid

or minimize effects on parks and historic properties. AR.242 (FEIS at ES-1); AR.27435–

43 (SDEIS at 4-9–4-18). It documented 20 parks and historic properties that stood to be

affected by the managed lanes project—down from 38 such properties in the draft EIS.

AR.533 (Final EIS at 6-3–6-4). The agencies also worked to reduce impacts on properties

within the new preferred alternative. Those properties included part of Plummers Island in

the Potomac River, which under the preferred alternative will experience less than one-

tenth an acre of permanent impacts from the expansion of the American Legion Bridge.
AR.539 (FEIS at 6-9). At the same time, an MDOT redesign moved the construction limits

of disturbance beyond the boundary for Morningstar Tabernacle No. 88 Moses Hall and

Cemetery. MDOT’s investigation allowed it to better define the cemetery’s boundaries

and avoid all impacts within them. AR.31 (ROD at 28); AR.13954 (FEIS App. I, vol. 9 at

63). To be clear, through its careful efforts, MDOT identified that Morningstar burials had

likely occurred outside the Cemetery’s previously understood property boundary. How-

ever, since no construction had previously occurred in the areas identified and the redesign

would also be outside these areas, a small portion of these areas owned by MDOT would

be gifted to the Cemetery. AR.580 (FEIS at 7-18).

   After a longer-than-normal 60-day comment period for the supplemental draft EIS,

MDOT incorporated additional ways to improve the project by reducing impacts and in-

creasing transportation benefits based on public input and coordination with other federal,

state and local agencies. For instance, the final environmental impact statement includes a

new trail connection from the American Legion Bridge to the Chesapeake and Ohio Canal

towpath, new noise barrier locations, better stormwater management, and reduced impacts

to sensitive resources from careful engineering design reviews. AR.243 (FEIS at ES-2).




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The final EIS preferred alternative has reduced impact on parks, wetlands, waterways,

floodplains, and forest canopies. AR.31 (ROD at 28).

   MDOT’s consultation efforts with key stakeholders and the public also focused on its

comprehensive mitigation plan and commitment to more project improvements. These

conversations led to important benefits, including:

       •   a commitment to build a shared-used bicycle-pedestrian path on the American

           Legion Bridge;

       •   continued reduction of property, community, historic, natural resource, and
           park impacts;

       •   a commitment to improve pedestrian and bicyclist safety at key locations in the

           study area; and

       •   toll-free travel for high-occupancy vehicles, transit buses, and motorcycles in

           the managed lanes. AR.244–45 (FEIS at ES-3–ES-4).

   The 450-page final EIS summarizes both the benefits and the potential impacts of the

managed lanes project. But that analysis went far beyond the final EIS itself. MDOT’s

staff and consultants prepared more than a dozen technical reports, spanning thousands of

pages, which were updated and appended to each iteration of the EIS. Those reports offer

technical detail on the agencies’ traffic, environmental justice, cultural resources, and air

quality analyses. See, e.g., AR.702 (FEIS App. A, traffic technical report); AR.1502 (FEIS

App. B, draft application for interstate access point approval); AR.5136 (FEIS App. F,

environmental justice technical report); AR.5777 (FEIS App. I, cultural resources technical

report); AR.14323 (FEIS App. K, air quality technical report). Consideration of the agen-

cies’ decision in this matter must also take account of the comprehensive information in

the technical reports and the internal analyses that supports them.




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       E.     FHWA independently evaluated the project and reached its own con-
              clusions.

    FHWA was involved at each step of this process as the lead federal agency. In that

role, FHWA coordinated with MDOT in regular meetings and with other agencies in larger

working group meetings. 3 Before making its final decision, FHWA called on its own ex-

pertise and conducted an independent assessment of the environmental review, including

its underlying technical analyses. AR.4 (ROD at 1). And when Plaintiffs challenged a

small part of MDOT’s traffic modeling, FHWA’s experts carefully evaluated those com-

ments and even solicited independent expert review. AR.189812–60 (FHWA comments

and MDOT responses on DEIS); AR.137 (ROD App. D, FHWA Memo describing Volpe

Center review).

    FHWA’s Record of Decision sums up years of agency review: MDOT and FHWA

“considered all the alternatives, information, analyses, and objections” to the project.

AR.56 (ROD at 53). After “a balanced consideration of the need for safe and efficient

transportation,” as well as the project’s “social, economic, and environmental effects,”

FHWA found that MDOT had properly documented all potential project impacts, and con-

sidered design changes to avoid and minimize those impacts. AR.56 (ROD at 53). It ac-

cordingly approved the project on August 25, 2022. AR.57 (ROD at 54). Plaintiffs did

not like FHWA’s decision, each for different reasons, and filed these now-consolidated

complaints.




3
   See, e.g., AR.55855, AR.55930, AR.56093, AR.56563, AR.57883, AR.58440,
AR.117460, AR.119296 (select agendas and meeting notes from FHWA meetings);
AR.55844, AR.55881, AR.56583, AR.59935, AR.61422, AR.64813, AR.141810 (select
interagency working group notes and presentations); AR.57903 (agency coordination
plan).


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                                      ARGUMENT

     The administrative record supporting the agency decisions in this case is comprehen-

sive and detailed. This record demonstrates MDOT’s compliance with all the key environ-

mental statutes and regulations related to the proposed managed lanes project. Plaintiffs’

accusations rely on selective and sometimes inaccurate representations concerning the

agencies’ environmental review process. As required by NEPA, MDOT engaged the pub-

lic, as well as federal, state, and local experts, to collect and analyze input regarding the

benefits and impacts of the proposed infrastructure project. MDOT actively listened and

responded to this input, and redesigned the project to reduce and mitigate impacts at each

stage in their thorough process. AR.56 (ROD at 53). Plaintiffs, for their part, do not dis-

pute that the project’s environmental review correctly identified a reasonable range of pro-

ject alternatives or was conducted with a full range of public participation. Their claims

are narrower. But at each narrow point where Plaintiffs accuse the agencies of not doing

enough, the record proves why their claims are unsupported. Thus, the agencies’ discre-

tionary decision to approve the managed lanes project should be upheld.

I.      The agencies’ comprehensive environmental review complied with the law
        and entitles them to summary judgment.

     Plaintiffs’ complaint and motion set out narrow claims that MDOT and FHWA violated

three statutes: the National Environmental Policy Act, Section 106 of the National Historic

Preservation Act, and Section 4(f) of the U.S. Department of Transportation Act. Pltfs.’

Br. at 1–2. As those statutes do not provide their own causes of action, Plaintiffs seek

review under the Administrative Procedure Act (APA). See Pltfs.’ Br. at 17–18; Defenders

of Wildlife v. North Carolina Dep’t of Transp., 762 F.3d 374, 393 (4th Cir. 2014) (holding




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that the APA governs review under both NEPA and Section 4(f)). As shown below, these

challenges are factually and legally unsupported.

       A.      To prevail, Plaintiffs must show that the decision approving the man-
               aged lanes project was arbitrary and capricious.

   Under the APA, courts may “hold unlawful and set aside agency action” that is shown

to be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(a)(2). That is a difficult standard to meet. It is not enough for Plain-

tiffs to say that the facts in the record could be viewed differently. Rather, they must prove

that the agency’s decision lacks “a rational connection between the facts” the agency found

and “the choice” the agency made. Am. Whitewater v. Tidwell, 770 F.3d 1108, 1115 (4th

Cir. 2014) (brackets omitted). Plaintiffs cannot win by “flyspeck[ing] the agency’s envi-

ronmental analysis, looking for any deficiency, no matter how minor.” Webster v. U.S.

Dep’t of Agric., 685 F.3d 411, 421 (4th Cir. 2012) (brackets and internal quotation marks

omitted). Judicial review instead demands “a holistic view” of the agency’s environmental

study. Id. at 422.

   When faced with cross-motions for summary judgment, courts consider “each motion

separately on its own merits to determine whether either of the parties deserves judgment

as a matter of law.” Defenders of Wildlife, 762 F.3d at 392. But especially when the case

“involves primarily issues of fact that implicate substantial agency expertise,” the APA’s

standard of review is “ultimately narrow and highly deferential” to the agency. Id. Because

of this “highly deferential standard of review,” a court facing cross-motions for summary

judgment in an APA case “presumes the validity of the agency action.” Blaustein & Reich,

Inc. v. Buckles, 365 F.3d 281, 291 (4th Cir. 2004). So if a plaintiff cannot meet its heavy

burden under the APA, the agency is entitled to summary judgment.




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   Here, Plaintiffs do not dispute that the summary judgment standard of review in an

APA case is “ultimately narrow and highly deferential” to the agency. Id.; see Pltfs.’ Br.

at 18. But it is a standard they cannot meet. Their motion for summary judgment should

be denied, and MDOT’s and FHWA’s motions should be granted.

       B.      The record shows that the agencies’ decision was reasoned and that
               they are entitled to summary judgment.

    The record that supports the agencies’ decision in this case is formidable. It starts with

a detailed environmental review, summarized in a draft environmental impact statement,

supplemental draft environmental impact statement, and final environmental impact state-

ment. Each of those EISs draws on thousands of pages of technical appendices, which

address the agencies’ methodology for reviewing all key resource impacts and the results

of their analyses in fine detail. Behind that stands tens of thousands of pages in the admin-

istrative record reflecting interagency communications regarding the NEPA review. The

record explains in detail how MDOT and FHWA reached their conclusions.

   Before the agencies even started their review, they “committed to a transparent pro-

cess” as the basis of their decision-making. AR.37 (ROD at 34). That commitment led to

an unprecedented amount of agency outreach to the public—including targeted outreach to

vulnerable communities—even in the midst of the covid-19 pandemic. AR.37–39 (ROD

at 34–36). The result was a proposed project that accounted for community concerns

through changes to the preferred alternative and targeted mitigation designed to minimize

environmental and community effects. AR.38–39 (ROD at 35–36).

   This massive public and community outreach effort was just one aspect of the agencies’

hard look at environmental effects under the National Environmental Policy Act. The

agencies’ thorough consideration of those effects is summarized in the final EIS and de-

tailed in its appendices.     AR.221–701 (FEIS); AR.702–27125 (FEIS appendices).


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Separately, the agencies affirmed that the managed lanes project will comply with other

applicable laws, including the Clean Air Act, Section 4(f) of the U.S. Department of Trans-

portation Act, and Section 106 of the National Historic Preservation Act. AR39–45 (ROD

at 36–42). And the agencies paid special attention to the project’s potential impacts on

low-income and minority communities, ultimately concluding that those communities

would not be disproportionately affected. AR.45–46 (ROD at 42–43).

      Taken together, the agencies’ work shows a level of care that makes it impossible for

Plaintiffs to claim that the environmental review ignored key issues. Instead, their sum-
mary judgment brief focuses on narrow, technical issues. But none of those issues is

enough to show that, in light of the agencies’ thorough review of environmental effects,

the agencies’ decision was arbitrary and capricious.

II.      Plaintiffs’ traffic claims fail because MDOT’s traffic analysis considered sub-
         stantive comments and provided relevant information to the public.

      Plaintiffs’ attack on MDOT’s traffic modeling is just the sort of flyspecking that cannot

support a challenge to agency expertise. They do not question the overall reasonableness

of MDOT’s and FHWA’s conclusions regarding the purpose and need for the project and

the overall transportation analysis and effects in the project area. Instead, they claim that

the National Environmental Policy Act required a different response to their specialized

critique of the transportation forecasting models, and that they should have been given

more access to one of the model’s inner workings. Pltfs.’ Br. at 36-42. NEPA requires

none of that. NEPA requires that an agency take a “hard look” at a project’s potential

environmental effects. Hughes River Watershed Conserv. v. Johnson, 165 F.3d 283, 288

(4th Cir. 1999). That means the agency must listen to experts, engage in “careful scientific

scrutiny,” and address any “legitimate concerns.” Id. In so doing, the agency remains

“entitled to rely on the view of [its] own experts.” Id. A reviewing court may not “second-


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guess agency decisions” as long as the agency has taken the requisite “hard look.” No Mid-

Currituck Bridge-Concerned Citizens v. North Carolina Dep’t of Transp., 60 F.4th 794,

800 (4th Cir. 2023).

       A.        MDOT used industry-accepted modeling techniques to make long-term
                 traffic projections.

   MDOT used two different models to ensure that its traffic estimates were reasonable.

One, a regional traffic forecast developed by the Metropolitan Washington Council of Gov-

ernments, is used by transportation agencies throughout the area to predict daily and peak

traffic volumes. AR.636 (FEIS at 9-25). In making these predictions, the Council’s model

draws on a range of information, including population, household, employment, and local

land-use data. AR.744 (FEIS App. A at 38). The Council’s model also accounts for all

major roadways and transportation services in the region, including Metrorail, commuter

rail, and buses. AR.744 (FEIS App. A at 38). MDOT used the model’s results to develop

hourly volume forecasts to the year 2045. AR.637 (FEIS at 9-26).

   The forecast volumes were fed into a separate traffic simulation model known in the

traffic modeling industry as VISSIM. AR.636 (FEIS at 9-25); see AR.748–54 (FEIS App.

A at 42–48 (discussing model validation)). The VISSIM model is a microsimulation.

AR.755 (FEIS App. A at 49). It goes beyond traffic volumes to estimate, at a local trip

level, things like traffic speed, delays, travel time, and the total number of vehicles moving

on the roads—in short, the level of service on the road network. AR.319 (FEIS at 4-3).

Using the VISSIM model, MDOT could calculate impacts by comparing future traffic on

I-495 and I-270—and on local roads—with and without managed lanes. AR.327–33 (FEIS

at 4-11–4-17).

   MDOT made sure that these models accounted for other proposed projects that could

affect traffic volumes. Those projects included roadway improvements like the I-270


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innovative congestion management plan 4 and the addition of managed lanes on I-495 in

Virginia, as well as transit improvements like the Purple Line light rail and bus rapid transit.

AR.321–22 (FEIS at 4-5–4-6) (describing all the roadway and transit improvements in-

cluded in the model). Even with all other transportation projects assumed in place, the

model predicted that traffic on I-495 and I-270 would continue to grow. AR.325 (FEIS at

4-9). Without the managed lanes project, congestion would keep getting worse, leading to

“slow travel speeds, significant delays, long travel times, and an unreliable network.”

AR.333 (FEIS at 4-17).

    Adding managed lanes on I-495 from the American Legion Bridge to I-270, and on I-

270 from I-495 to I-370, would improve traffic conditions. Those improvements include:

        •   lowering system-wide traffic delays by 13% during the morning peak and by

            38% during the evening peak, AR.9 (ROD at 6);

        •   improving travel speeds in the general-purpose (non-toll) lanes, while provid-

            ing an option for a free-flow trip in the managed lanes, AR.9 (ROD at 6),

            AR.794–99 (FEIS App. A at 88–93); and

        •   reducing overall delay on surrounding local roads, AR.9 (ROD at 6).

In short, the agencies evaluated the facts and reasonably concluded that travelers on I-495,

I-270, and the surrounding local roads “would experience significantly faster, more reliable

trips.” AR.10 (ROD at 7).




4
  The I-270 innovative congestion management plan uses on-ramp traffic signals to control
the flow of traffic onto I-270, thereby easing congestion. AR.321 (FEIS at 4-5).


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       B.      MDOT took a hard look at Plaintiffs’ criticisms of its traffic model but
               was not persuaded.

    Plaintiffs do not directly dispute MDOT’s modeling. 5 Instead, Plaintiffs focus on

MDOT’s response to their hired expert’s claim that the models’ assumptions led to “unre-

alistically high traffic volumes.” Pltfs.’ Br. at 37. Plaintiffs’ finite procedural focus on

MDOT’s response to comments, as opposed to the model’s substantive conclusions, is a

tacit recognition of unfavorable law. The law says that when a “dispute involves primarily

issues of fact that implicate substantial agency expertise,” as a traffic modeling dispute

does, the agency’s view should receive deference. Am. Whitewater, 770 F.3d at 1115.

NEPA similarly lets an agency “rely on the view of [its] own experts.” Hughes River, 165

F.3d at 288. What Plaintiffs miss is that this deference to agency expertise also colors their

procedural claims about responding to comments.

               1. Multiple levels of expert review support MDOT’s traffic analysis.

    Multiple levels of expert review support MDOT’s traffic findings. To start, MDOT

used the same traffic models and methods that experts around the region have tested and

accepted. AR.318 (FEIS at 4-2). Beyond that, traffic experts analyzed and agreed with

the models’ outputs.     AR.1200–1316 (FEIS App. A, MWCOG validation memos);

AR.1317–1413 (FEIS App. A, VISSIM calibration report). Finally, FHWA experts inde-

pendently reviewed MDOT’s work, giving special attention to Plaintiffs’ concerns.

AR.138 (ROD App. D, FHWA Aug. 15, 2022 memo). The final EIS includes detailed

tables explaining how traffic on I-495 and I-270 will keep getting worse. See, e.g.,

5
  In their background discussion—though not in their legal argument—Plaintiffs seem to
question the premise of the managed lanes project. They say that adding lanes will increase
demand, “negating any congestion relief” from the managed lanes. Pltfs.’ Br. at 6. But
MDOT’s modeling disproved this “induced demand” theory, and Plaintiffs do not rely on
it as a reason to reverse the agencies’ decision. AR.637 (FEIS at 9-26) (explaining that less
than 1% of vehicles miles traveled in the model result from induced demand).


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AR.794–99 (FEIS App. A at 88-93) (tables showing changes on I-495 and I-270). Traffic

on local roads also will worsen. AR.800 (FEIS App. A at 94) (tables showing changes on

local roads). And adding managed lanes will provide relief. AR.788–800 (FEIS App. A

at 82–94) (discussing improvements from managed lanes project). Indeed, MDOT’s sen-

sitivity analysis showed that even if future volumes are lower than forecast, the project

would still help. AR.4327 (FEIS App. C at 7). The data supports the decision: Managed

lanes are needed now.

   Plaintiffs know that the Court owes deference to MDOT’s experts on these points. “No
model is perfect,” they say in their brief, “and the agencies are entitled to deference for the

reasonable methodological choices they make.” Pltfs.’ Br. at 42. That is presumably why

they try to claim that the independent experts at the U.S. Department of Transportation’s

Volpe Center’s “found that MDOT’s model failed to account for” drivers’ tendency to

reroute when faced with impenetrable traffic. Pltfs.’ Br. at 38. But they mischaracterize

the Volpe Center’s findings in at least two ways. First, Plaintiffs imply that the Center was

talking about routing around traffic on I-495and I-270, Pltfs.’ Br. at 37-38. In fact, it was

talking about “individual links near the project area” on the adjacent arterial roads and

intersections, not I-495 and I-270 themselves. AR.138 (ROD App. D at 38). Second, the

Volpe Center did not find that MDOT’s model “failed”—it found that such a model “can-

not by itself” predict drivers’ “real world” rerouting; that is the purpose of expert interpre-

tation. AR.138 (ROD App. D at 38). The model did what it was supposed to do, and the

Volpe Center’s findings do not suggest otherwise.

               2. MDOT considered and responded to Plaintiffs traffic comments

   Plaintiffs’ claim that MDOT did not respond to their traffic expert’s criticisms also

fails. Pltfs.’ Br. at 37-39 The record shows the careful consideration of Plaintiffs comments




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by MDOT experts. For one, MDOT explained that the traffic volumes in its model came

from the Metropolitan Washington Council of Governments’ model—a model accepted by

every relevant transportation agency in the region. AR.636 (FEIS at 9-25). MDOT also

explained, contrary to Plaintiffs’ view, that “projected increases in regional population and

employment” had the potential to increase traffic on I-495and I-270, “even if congestion

conditions worsen.” AR.23037 (FEIS App. T at CO-827). As for Plaintiffs’ more specific

bottleneck concerns, MDOT responded by pointing to its detailed analysis in the final EIS.

AR.23037 (FEIS App. T at CO-827); see AR.317–41 (FEIS ch. 4); AR.135084 (letter and
attachments addressing travel time). MDOT adjusted its traffic model after careful review.

    Plaintiffs argue on one hand that MDOT failed to consider their comments regarding

potential shortcomings of the modeling but on the other hand complain that MDOT made

manual adjustments (for both build and no-build scenarios) when checking its modeling

results and responding to comments. Pltfs.’ Br. at 39-40. MDOT was transparent that it

discovered an anomaly on ramps connecting to I-495 at the Greenbelt Metrorail station. 6

MDOT reported that the microsimulation model’s traffic volumes near Greenbelt “showed

significantly higher growth” than the trends in the underlying traffic volume model.

AR.132 (ROD App. D at 12). It explained that the anomaly was due to double-counting

trips in different models. AR.132 (ROD App. D at 12). This analysis demonstrates that

MDOT took a hard look at its work.

    Opponents alleged in a letter to the U.S. Department of Transportation that this Green-

belt adjustment amounted to “scientific fraud” in MDOT’s traffic model. AR.137 (ROD

App. D at 17). The U.S. Department of Transportation passed on the opponents’ letter to

traffic experts at Volpe Center, who independently reviewed it and found no fraud. AR.137


6
 The Greenbelt Metrorail station ramps do not connect to a part of I-495 that would receive
managed lanes.


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(ROD App. D at 17); AR.139 (ROD App. D at 19). FHWA’s responses to opponents’

letter also concluded that the manually adjusted model met “a professional standard of

care.” AR.130 (ROD App. D at 10).

    Nor is the model’s anomalous congestion near the Greenbelt metro “one example of

the precise problem” raised by Plaintiffs’ expert. Pltfs.’ Br. at 40. The anomaly was a one-

off mismatch between the traffic model forecasts used in the final EIS and the Metropolitan

Council of Governments’ model trends, caught because MDOT performed a “review” of

the two models to make sure the models were working in alignment. AR.132 (ROD App.
D at 12). That review involved “trend-check spreadsheets” that compared many locations.

AR.132 (ROD App. D at 12). The area near the Greenbelt Metrorail station was the only

place where the review found a mismatch that warranted manual adjustment. AR.132

(ROD App. D at 12). That MDOT’s review did not find more locations like Greenbelt

actually disproves Plaintiffs’ claim that “unrealistically high traffic volumes . . . pervade[]

the model.” Pltfs.’ Br. at 40. Even more so, MDOT’s process showed transparent careful

review of its work to assure that its predictions were reasonable, not capricious.

       C.      MDOT did not improperly withhold its modeling files.

    Plaintiffs conclude their critique of MDOT’s traffic modeling by alleging that MDOT

“refuse[ed] to disclose” the “computer files” related to its model. Pltfs.’ Br. at 41. Or, as

Plaintiffs clarify, MDOT declined to share those files unless Plaintiffs “paid more than

$21,000.” Pltfs.’ Br. at 41. Nothing in NEPA requires an agency to disclose every detail

of its models, software, and data at no cost.

    The vast majority of documents that Plaintiffs asked for was already available for free

on MDOT’s project website. 7 That free information included the initial traffic data


7
    See https://oplanesmd.com/wp-content/uploads/2020/07/APP-C_MLS_Traffic-Tech-


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prepared for the purpose and need review, as well as the data in the project’s alternatives

report, draft EIS, supplemental draft EIS, final EIS, and three traffic technical reports. See

AR.702–1501 (FEIS traffic technical report); AR.27919–28126 (SDEIS traffic technical

report); AR.36588–38113 (DEIS traffic technical report). Additionally, as Plaintiffs reluc-

tantly admit, MDOT offered the data that Plaintiffs requested pursuant to Maryland’s pub-

lic disclosure law and at costs allowed thereunder. Despite specific disclosure of its right

to appeal under the Maryland Public Information Act, Plaintiffs did not appeal either the

costs or the disclosures. What is more, another entity that filed a similar request for records
and data paid for and received the records. AR.189584–55 (MDOT response to City of

Rockville). Plaintiffs chose neither to pay nor to use any of the various avenues of appeal

under the Maryland Public Information Act. See Md. Code, Gen. Provisions §§ 4-1A-05;

4-1B-04; 4-362.

   Releasing the additional traffic data to Plaintiffs would not have added to the public’s

understanding and is not required under NEPA’s “rule of reason.” Dep’t of Transp. v. Pub.

Citizen, 541 U.S. 752, 767 (2004); see 85 Fed. Reg.43304, 43363 (July 16, 2020) (setting

a 300-page limit for an EIS of “unusual scope or complexity”). The data at issue comprise

complex inputs and algorithms understandable only to a traffic modeling professional.

And, as Plaintiffs knew, the complex inputs and algorithms are part of proprietary software.

It was not free for the agency, and Maryland law did not require the agency to release it for

free. See Md. Code, Gen. Provisions § 4-206 (allowing a reasonable fee for the costs of

producing public records). 8


Report-Appendices.pdf (DEIS traffic technical report); https://oplanesmd.com/wp-con-
tent/uploads/2021/09/SDEIS_AppA_Traffic-Evaluation-Memo_web.pdf (SDEIS traffic
technical          report);       and           https://oplanesmd.com/wp-content/up-
loads/2022/06/01_MLS_FEIS_AppA_Traffic-Tech-Report_June-2022p.pdf (FEIS traffic
technical report).
8
  Sierra Club Foundation revenues for 2021 exceeded $118 million, and its net assets


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III.       MDOT’s approach to air pollutants was not arbitrary and capricious.

       Plaintiffs do not even allege, much less establish, that the evaluation of potential effects

on air quality from the managed lanes was arbitrary and capricious or otherwise failed the

requirements of NEPA. The agencies disclosed that PM2.5—a name for particulate matter

that is no larger than 2.5 microns in diameter—was among the series of air borne pollutants

produced from mobile sources, like the highways at issue, and that PM2.5 could increase

with the project and that PM2.5 has adverse effects on human health. AR.655 (FEIS at 6-

44). The environmental review materials also discuss the relationship of more vehicles

and the impacts on air quality. See, e.g., AR.14356–57 (FEIS App. K at 31–32) (noting

that increased vehicle miles traveled “can increase emissions”). Here, Plaintiffs’ real ar-

gument is that the EPA’s localized health standard for one classification of pollutants,

PM2.5, is not sufficient and that it should have been modeled at a microscale level for var-

ious points throughout the alignment, despite EPA standards. That argument fails both

because the record shows that the project will not violate EPA’s standards for PM2.5 and

because MDOT’s localized analysis of carbon monoxide—a proxy for this type of emis-

sion—shows no threat of localized harm.

           A.      The regional analysis established that Montgomery County and Fair-
                   fax County would remain within the EPA health standard for PM2.5.

       Plaintiffs argue that the agencies failed NEPA’s “hard look” at the “localized health

impacts” of PM2.5. Pltfs.’ Br. at 23-27. No one doubts that, in sufficient concentrations,

PM2.5 can have adverse health effects. AR.655 (FEIS at 9-44). That is why the Environ-

mental Protection Agency has set air quality standards for PM2.5. Plaintiffs admit that

PM2.5 was evaluated under standards set by EPA and that EPA has found those standards


exceeded $233 million. See https://vault.sierraclub.org/foundation-annual-report-
2021/download/scf-scfar-2021-financials%20(1).pdf.


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are being met in Montgomery County, Maryland, and Fairfax County, Virginia. Pltfs.’ Br.

at 21.

    To test whether EPA’s air quality standards will continue to be met in the future, the

Transportation Planning Board conducted a regional conformity analysis—a complex anal-

ysis of air pollutant sources and emissions that assesses whether the region is at risk of

violating EPA air quality standards. As relevant here, that analysis studied air emissions

from all projects planned for the region, including the managed lanes project, through the

year 2045. The results showed that the cumulative projected PM2.5 emissions from all

projects would not violate EPA’s air quality standards. EPA confirmed that the Transpor-

tation Planning Board had properly conducted this analysis. AR.131349 (EPA May 2020

memo). And FHWA agreed that no new analysis was needed for the managed lanes pro-

ject. AR131392 (FHWA June 2020 email).

    Unable to deny these conclusions endorsing the managed lanes project’s continued

compliance with EPA’s PM2.5 air quality standards, Plaintiffs argue instead that NEPA
required more. Even though the EIS informed the public that PM2.5 is an airborne pollutant

which can have adverse health effects and which in part derives from motor vehicles, and

even though the managed lanes project is being built in counties where PM2.5 meets EPA

standards, Plaintiffs say FHWA should require more than the EPA requirements, that it

must estimate and model how PM2.5 emissions from the project would affect each separate

area within and adjacent to the project, that it should require predictions at numerous mi-

crolevel points. But neither NEPA nor EPA requires any such thing.

         B.    Relying on EPA’s air quality standards for PM2 5 complied with
               NEPA’s rule of reason.

    Plaintiffs do not say that discussion of PM2.5 is absent from the project’s environmental

review; MDOT disclosed that PM2.5 can harm human health. AR.655 (FEIS at 9-44).


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MDOT also explained that, even including project-related PM2.5 emissions, Montgomery

and Fairfax Counties would meet the Environmental Protection Agency’s air quality stand-

ards for PM2.5. AR.35897–99 (DEIS at 4-60–4-62); Pltfs.’ Br. at 21. Plaintiffs argue that

NEPA required MDOT to model and estimate PM2.5 at a microscale level and how it

“would affect the health of people living closest to the toll lanes.” Pltfs.’ Br. at 23.

      Compliance with NEPA is judged by a “rule of reason” that anchors the scope of

agency review to “the usefulness of any new potential information to the decisionmaking

process.” Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 767 (2004). An environmental

impact statement need not flag every possible, incremental change in environmental con-

ditions, as long as its review is reasonable—i.e., a “hard look” at potential effects (Kleppe

v. Sierra Club, 427 U.S. 390, 410 n.21 (1976)). The idea is for courts to make a “pragmatic

judgment” about an EIS, taking a “holistic view of what the agency has done” to review

impacts. Webster, 685 F.3d at 421-22. As the First Circuit put it, a “discussion of envi-

ronmental effects . . . need not be exhaustive” so long as the agency has “information suf-

ficient to permit a reasoned choice . . . .” Dubois v. Dep’t of Agric., 102 F.3d 1273, 1287

(1st Cir. 1996) (citation omitted).

      Here, Plaintiffs concede that both Montgomery and Fairfax Counties comply with

EPA’s national ambient air quality standards for PM2.5. Pltfs.’ Br. at 21. When EPA sets

those standards, it is saying that their “attainment and maintenance” will “protect the public

health”—indeed, it is saying that meeting the air quality standards will protect public health

with “an adequate margin of safety.” 42 U.S.C. § 7409(b)(1); see Whitman v. Am. Trucking

Ass’ns, 531 U.S. 457, 472–73 (2001) (explaining how EPA’s air quality standards work).

What is more, EPA established its air quality standards by evaluating the varied sources

and dispersion characteristics of pollutants like PM2.5. 9 In EPA’s judgment, its standards

9
    EPA’s thorough process for setting PM2.5 air quality standards is described on its website.


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establish that the levels of PM2.5 for both Montgomery and Fairfax Counties will “protect

the public health” with “an adequate margin of safety.” The regional analysis was suffi-

cient to protect the public health with an adequate margin of safety and no additional anal-

ysis is required by MDOT. AR.408 (FEIS at 5-67) (explaining that because the counties

are “in an attainment area for PM2.5 . . . no further analysis of PM2.5 was required”). The

point of NEPA review, after all, is to consider “the quality of the human environment.” 40

C.F.R. § 1500.1(a).

   FHWA guidance confirms MDOT’s approach. That guidance says that “microscale”

carbon monoxide analysis is “unnecessary” when combined project and background con-

centrations are “well below” EPA’s standards. FHWA, Guidance for Preparing and Pro-

cessing Environmental and Section 4(f) Documents, Technical Advisory T 6640.8A (Oct.

30, 1987) at 10. 10 The same logic applies here. Because the air quality monitoring stations
nearest the study area showed that PM2.5 concentrations are now “well below” EPA air

quality standards, and the project is “not predicted to increase emissions burdens,” mi-

croscale PM2.5 analysis is not required. AR.35897–99 (DEIS at 4-60–4-62).

   Despite all this, Plaintiffs say that MDOT should have performed such a microscale

analysis for “those closest” to the highway. Pltfs.’ Br. at 23. But if agencies could not rely

on compliance with federal and state standards when preparing an EIS, it would make the

NEPA process even more complicated than it already is. If Plaintiffs were right, for exam-

ple, an agency could not rely on the fact that a project’s water discharges met federal and

state water quality standards. An EIS would instead have to model, track, and somehow

assess the effects of discharges far below those standards. That degree of study is more

like a doctoral dissertation than a reasonable, hard look at effects on the human

See https://www.epa.gov/naaqs/particulate-matter-pm-air-quality-standards.
10
       See     https://www.environment.fhwa.dot.gov/legislation/nepa/guidance_prepar-
ing_env_documents.aspx.


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environment. Plaintiffs’ arguments are without merit and the record reflects that the review

of potential impacts to air quality were reasonable.

       C.      Neither Fourth Circuit nor out-of-circuit cases alter NEPA’s rule of
               reason.

   Plaintiffs’ argument that the EIS should have considered PM2.5 at a local level rests on

their reading of the D.C. Circuit’s decision in American Trucking Associations, Inc. v. EPA,

283 F.3d 355 (D.C. Cir. 2002). That case, they say, establishes that EPA need not set air

quality standards at a level “below which [a pollutant] is known to be harmless.” Pltfs.’

Br. at 22 (quoting Am. Trucking, 283 F.3d at 360) (brackets in Plaintiffs’ brief). From

there, they reason that compliance with EPA’s air quality standards may not “protect the

public health”—despite what the Clean Air Act requires. Pltfs.’ Br. at 22, 24. And if

compliance with the PM2.5 air quality standards does not protect the public health, Plaintiffs

say, MDOT should have studied PM2.5 more carefully. Pltfs.’ Br. at 24.

   Plaintiffs’ argument misreads both the D.C. Circuit’s opinion in American Trucking

and NEPA’s requirements. American Trucking does not excuse EPA from setting air qual-

ity standards that will “protect the public health” with “an adequate margin of safety.” 42

U.S.C. § 7409(b)(1). It explains that when science does not offer “a threshold concentra-
tion below which” pollutants “are known to be harmless,” EPA faces a “difficult” task.

Am. Trucking, 283 F.3d at 360. But, as the D.C. Circuit held, EPA still must set an air

quality standard that will “reduce risks sufficiently to protect public health.” Id. (citation

omitted). Against that backdrop, NEPA allows agencies to make a “pragmatic judgment.”

Webster, 685 F.3d at 421–22. If EPA has set a standard that protects public health—as it

has for PM2.5—an agency can reasonably rely on that standard when preparing an environ-

mental review under NEPA.




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      Plaintiffs try to bolster their argument by citing two more cases from other circuits.

Pltfs.’ Br. at 24-26. But neither case is persuasive here. Calvert Cliffs’ Coordinating Com-

mittee, Inc. v. U.S. Atomic Energy Commission, decided more than half a century ago,

speaks to an agency’s “balancing the overall costs and benefits” of a project, not its use of

EPA standards as a reasonable proxy for potential environmental effects. 449 F.2d 1109,

1125 (D.C. Cir. 1971). The Ninth Circuit’s decision in Environmental Defense Center v.

Bureau of Ocean Energy Management similarly rejects reliance on a permit that “was not

created or intended to be used for” the project at issue. 36 F.4th 850, 874 (9th Cir. 2022).
EPA’s air quality standards, by contrast, are specifically meant to “protect the public

health” against harm from PM2.5. 42 U.S.C. § 7409(b)(1). MDOT thus reasonably relied

on those standards and the Transportation Planning Board’s conclusion that the project will

not cause a violation of EPA air quality standards.

      Nor does the Fourth Circuit’s decision in Friends of Buckingham v. State Air Pollution

Control Board, 947 F.3d 68 (4th Cir. 2020), change the PM2.5 calculus. Plaintiffs say that

case “rejects a less extreme version of the rationale” that MDOT used here. Pltfs.’ Br. at

26. But Friends of Buckingham is not a NEPA case. It instead involved an environmental

justice analysis, under Virginia state law, of emissions from a stationary source. Id. at 87.

When the state performed that analysis, it failed even to make findings about the environ-

mental justice characteristics of the local community. 11 Id. at 88–90. Friends of Bucking-

ham thus does not speak to the reasonableness under NEPA of relying on EPA’s PM2.5 air

quality standards when preparing an EIS. Under NEPA, which calls for “pragmatic judg-

ment” and a “holistic” view of impacts, the PM2.5 analysis in MDOT’s EIS was reasonable.

See Webster, 685 F.3d at 421–22.



11
     See infra at 31–35 (discussing MDOT’s environmental justice efforts).


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       D.      MDOT’s localized carbon monoxide modeling confirms its PM2.5 con-
               clusions.

   Even though the managed lanes project complies with EPA air quality standards, and

even though EPA set those standards to protect public health, MDOT went one step further.

To check localized air emissions, MDOT modeled carbon monoxide emissions at project

intersections and interchanges—including the I-270 interchange with I-370 that most con-

cerns Plaintiffs. MDOT did this work, it explained, “for transparency and informational

purposes,” not because NEPA required it. AR.44929 (DEIS App. I at 12); see AR.14330

(FEIS App. K at 5–6) (referencing DEIS technical report). And it chose to model carbon

monoxide, rather than all six criteria pollutants, because carbon monoxide is a good “proxy

for transportation emissions.” AR.44929 (DEIS App. I at 12).

   MDOT’s carbon monoxide modeling “conservatively assumed worst-case conditions,”

thereby “overestimating the emissions results.” AR.44992 (DEIS App. I at 74). These

conservative estimates still showed that localized carbon monoxide impacts would be well

below EPA’s air quality standards during peak one-hour and eight-hour timeframes.

AR.44992 (DEIS App. I at 74). For the specific interchange that Plaintiffs are most worried

about, the modeling showed concentrations lower than what exists today. AR.44993 (DEIS

App. I at 74) (showing concentrations at interchange IC.36, where I-270 and I-370 meet).

   MDOT did not have to study localized carbon monoxide emissions, but it did anyway.

What it found confirms two things. First, even the busiest intersections and interchanges

will not see the sort of increased air pollution that would violate EPA’s air quality stand-

ards. Second, and as a result, it was reasonable for MDOT to rely on regional compliance

with PM2.5 standards.




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IV.      MDOT and FHWA studied potential effects on environmental justice com-
         munities and avoided disproportionate impacts to them.

      Plaintiffs’ next cluster of claims involve the Executive Order on environmental justice.

On that front, MDOT’s efforts were extraordinary. The goal of environmental justice re-

view, as White House guidance explains, is to assess whether a proposed action could result

in “disproportionately high and adverse” effects on minority and low-income communities.

Exec. Order No. 12898, 59 Fed. Reg. 7629, 7630 (Feb. 16, 1994). 12 To do that, agencies

must first find communities that are vulnerable because of past race- or income-based dis-

crimination. See Vecino para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,

1331 (D.C. Cir. 2021) (holding that an agency’s delineation of an environmental justice

community must be “reasonable and adequately explained”). MDOT went well beyond

that requirement, consistently reaching out to vulnerable communities and documenting

impacts on those communities. AR.487–93 (FEIS at 5-146–5-152). Using what it learned

during these outreach efforts, MDOT’s experts prepared a separate technical report to as-

sess potential impacts to environmental justice communities. AR.5136–5617 (FEIS App.

F). MDOT reasonably concluded, based on that work, that the managed lanes project will

not cause disproportionate, high, and adverse effects to minority or low-income communi-

ties. AR.5257–58 (FEIS App. F at 109–10). FHWA agreed. AR.45 (ROD at 42).

         A.      The record reflects that MDOT recognized and accounted for past
                 harms to environmental justice communities.

      Plaintiffs claim that the agencies did not account for “pre-existing burdens and health

vulnerabilities” in environmental justice communities. Pltfs.’ Br. at 34. Plaintiffs are

wrong. The EIS describes the historic practices that caused minority communities to

12
  New environmental justice guidance, issued after the decision in this case, drops the
word “high” from this formulation. See Exec. Order No. 14096, 88 Fed. Reg. 25251, 25253
(April 26, 2023). That new order does not apply here.


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experience “the most adverse impacts and the fewest benefits” from interstate highways.

AR.476 (FEIS at 5-135). Because of these practices, the final EIS explains, construction

of interstate highways “further concentrate[ed] poverty and expos[ed] remaining residents

to the environmental and public health effects associated with traffic proximity.” AR.477

(FEIS at 5-136). The final EIS discloses that the Gibson Grove community was “physically

split” by the construction of I-495. AR.477 (FEIS at 5-136 & n.46). The discussion in the

Cultural Resources Technical report provides a detailed discussion of the Gibson Grove

community and prior impacts. When the final EIS studies the environmental justice com-
munities along the length of the project, it does so with these “pre-existing burdens” in

view. AR.471–505 (FEIS at 5-130–5-164); see AR.5136–617 (FEIS App. F) (technical

report on environmental justice issues).

   MDOT recognized that environmental justice communities have suffered in the past

from government’s failure to consider the disparate impacts of infrastructure. That is why

MDOT worked so hard to both engage with environmental justice communities and eval-

uate impacts on them. See AR.476–77 (FEIS at 5-135–5-136); AR.5198 (FEIS App. F at

50). It not only offered more time, and more ways, for the public to comment, it made

special efforts to “ensur[e] minority and low-income communities” had information about

impacts. AR.35–36 (ROD at 32–33); see AR.487–93 (FEIS at 5-146–5-152) (describing

special outreach efforts to environmental justice communities). In addition to outreach to

the general public by way of public meetings, on line and in person, newsletters to all

adjacent property owners, a frequently updated website, and public hearings, those “more

concentrated” efforts included: mailing flyers in five languages to affordable housing com-

plexes, schools, and places of worship; translating and providing hard copies of the EIS

executive summary; and an online survey and “community ‘pop-up’ events” where it could

hear concerns in person. AR.647–48 (FEIS at 9-37–9-38); see AR.36 (ROD at 33).



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Because of what MDOT learned through these efforts, it incorporated into the final project

decision items that were prioritized by environmental justice communities such as “im-

proved sidewalks and bicycle facilities, better lighting, and traffic calming measures” ad-

jacent to the highway facilities. When the project is developed, MDOT will work with

local governments to implement these measures. AR.36 (ROD at 33); AR.73–74 (ROD

App. A at 16–17). 13

     Despite MDOT’s outreach to environmental justice communities, Plaintiffs argue that

MDOT failed to account for vulnerable communities’ “elevated susceptibility” to environ-

mental harms. Pltfs.’ Br. at 34–35. But MDOT and FHWA did just that, evaluating envi-

ronmental justice issues in a special technical report that accounted for air toxin cancer

risks, the air toxics respiratory hazard index, and increased risks associated with proximity

to traffic. AR.5207–08 (FEIS App. F at 59–60). That analysis showed that non-environ-

mental justice communities “would bear the majority of quantifiable impacts” from the

project, including 91% of impacted properties, 100% of impacted community facilities,

and 95% of wetlands impacts. AR.502 (FEIS at 5-162).

        B.     MDOT did not miss any disproportionately high and adverse air qual-
               ity impacts to environmental justice communities.

     Plaintiffs incorrectly claim that for one community the air quality analysis was insuf-

ficient for environmental justice purposes. Focusing on Gaithersburg, Maryland, they ar-

gue that a new “chokepoint” where the managed lanes merge into general lanes could


13
  Contrary to Plaintiffs’ assertion, MDOT considered and incorporated input from the Uni-
versity of Maryland School of Health Community Engagement, Environmental Justice &
Health Lab. The Lab helped MDOT review its environmental justice methodology, in ad-
dition to input MDOT received from an Environmental Justice Working Group. AR.5224–
48 (FEIS Appendix F at 76–100); AR.186887. Ideas offered by the Lab and the Working
Group regarding environmental justice impact assessment, outreach, and project mitigation
were incorporated into the study and final agency decision.


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exacerbate air quality impacts to nearby environmental justice communities. Pltfs.’ Br. at

31–33. In making this argument, Plaintiffs acknowledge the final EIS’s finding that all

parts of the project study area will receive “an equal share of air pollution.” Pltfs.’ Br. at

32–33. As they see it, though, MDOT’s traffic data contradicts that finding. Plaintiffs say

that northbound speeds near the end of the managed lanes on I-270 “would drop by 30

mph” during evening rush hour. Pltfs.’ Br. at 32. They foresee a similar problem where I-

270 merges into I-495. Pltfs.’ Br. at 32. And because both these places are close to envi-

ronmental justice communities, Plaintiffs claim that MDOT should have done more anal-
ysis. Pltfs.’ Br. at 32–33.

    Contrary to those claims, MDOT reasonably assessed air quality impacts in the

Gaithersburg area in the context of existing conditions in that community. Plaintiffs’ ar-

gument on this point has three main problems. First, they lack record support for their

assertion that—contrary to MDOT’s findings—“[a]ir pollution would not be distributed

evenly along the project’s path.” Pltfs.’ Br. at 30. The record shows the opposite: traffic

operations from the project will affect all areas equally, “regardless of [environmental jus-

tice] status.” AR.496 (FEIS at 5-155). And while the EIS candidly acknowledges that

“[c]ongestion would still exist” on I-270 because of “downstream bottlenecks,” it “would

not get worse” when the managed lanes are built. AR.259 (FEIS at ES-18). Second, the

record shows that MDOT specially screened for “primary risk factors”—including “known

pollutants”—that “have a tendency to disproportionately affect” environmental justice

communities. AR.649 (FEIS at 9-38). Third, even if air pollution would not disperse

evenly, but be worse at each end of I-270, the record shows that those areas will not be

disproportionately affected by the project. AR.496 (FEIS at 5-155); AR.44993 (DEIS App.

I at 74).

                                      *       *       *



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     MDOT concluded that environmental justice communities will benefit from the man-

aged lanes project. To reach that conclusion, MDOT relied on actual user data showing

that people “of all incomes” will benefit from managed lanes, in part because the most

common use of managed lanes is for critical trips to appointments or school events.

AR.650 (FEIS at 9-39). Environmental justice communities will also benefit from the

managed lanes project because it will increase mobility through improved bicycle and pe-

destrian access, allow toll-free travel for transit vehicles, and enhance connections to transit

centers. AR.651 (FEIS at 9-40); AR.257-58 (FEIS at ES16–17). For all these reasons, and
given all the analysis in the final EIS, MDOT’s and FHWA’s conclusion that the managed

lane project will not have disproportionately high and adverse effects on environmental

justice communities was not arbitrary and capricious.

V.      The Virginia Department of Transportation and MDOT appropriately con-
        sidered the impacts of flyover ramps in Virginia.

     Plaintiffs’ final NEPA argument involves ramps that have already been approved and

are now being built by the Commonwealth of Virginia. The Virginia plan, called “495

NEXT,” would extend Virginia’s existing managed lanes along I-495 toward the American

Legion Bridge. AR.288 (FEIS at 3-4). Plaintiffs claim harm from “new flyover ramps”

that are part of 495 NEXT. 14 Pltfs.’ Br. at 43; ECF 46-3, Decl. of Debra Butler ¶¶ 2, 3. But

because those elevated ramps are part of the separate Virginia project, any harm from them

is not fairly traceable to the project here. And in any event, MDOT’s environmental review

addressed the Maryland managed lanes project’s impact on the relevant neighborhood.




14
  Indeed, some of the plaintiffs in this case sued the Virginia Department of Transportation
over the impact of the Virginia flyover ramps. Those claims were voluntarily dismissed.
See N. Va. Citizens Ass’n v. Fed. Hwy. Admin., Case No. 1:23-cv-356.


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        A.      Because Plaintiffs fail to show that harms from flyover ramps in Vir-
                ginia are traceable to this project, they lack standing.

     As Plaintiffs admit, their ability to sue over the Virginia flyover ramps depends on their

having standing under Article III of the U.S. Constitution. Pltfs.’ Br. at 19. To show

standing, they must have suffered an injury-in-fact that is caused by the agency action they

are challenging. Sierra Club v. U.S. Dep’t of Interior, 899 F.3d 260, 283 (4th Cir. 2018).

And they must show such a causal link between their alleged injury and the challenged

action for each of their claims. Overbey v. Mayor of Baltimore, 930 F.3d 215, 230 (4th

Cir. 2019).

     Plaintiffs cannot pass the standing test for their Virginia flyover ramp claim because

their alleged injuries for that claim are not fairly traceable to the Maryland managed lanes

project. Plaintiffs’ standing declaration is clear about how they think their injuries will

happen: “The flyover ramps will move traffic closer to” their declarant’s neighborhood and

cause her to “experience” both sound and light pollution “associated with the ramps.” But-

ler Decl. ¶ 3. “The ramps,” the declarant says, “will also increase surface water run-off”

and “exacerbate storm water management issues.” Butler Decl. ¶ 3.

     The elevated “flyover” ramps at the center of Plaintiffs’ injury claim are depicted on

the first page of final EIS Appendix E. The problem for Plaintiffs is that this map shows

the flyover ramps as part of the Virginia 495 NEXT project, not the Maryland managed

lanes project. AR.5098 (FEIS App. E at 1) (orange crosshatching). Thus, Plaintiffs who

claim harm from the Virginia flyover ramps are not claiming harm from this project. 15 And
if Plaintiffs are not harmed by this project, they lack standing to challenge the Virginia

flyover ramps in this case. See GBA Assocs. v. Gen. Servs. Admin., 32 F.3d 898, 901 (4th

Cir. 1994) (finding no standing where the “chain of causation” is broken).

15
 The 495 NEXT project has independent utility—it would be built even if the Maryland
managed lanes project was not.


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   Even if Plaintiffs argue that they will suffer procedural harm under NEPA from an

alleged failure to include the Virginia flyover ramps in the Maryland environmental review,

they would still lack standing. The failure to comply with NEPA is a procedural harm, but

it does not create standing unless it relates to “a concrete interest.” Summers v. Earth Island

Inst., 555 U.S. 488, 496 (2009). Since the only concrete interests that Plaintiffs’ point to

are harms from the Virginia flyover ramps, they lack standing to challenge the Maryland

managed lanes project.

       B.      The final EIS addresses impacts from the Virginia flyover ramps.

   On the merits, Plaintiffs argue that MDOT’s final EIS “failed to take a hard look at the

environmental impacts of the new flyover ramps in Virginia.” Pltfs.’ Br. at 43. They admit,

however, that the final ramp design remains within the limits of disturbance. Pltfs.’ Br. at

44. Their argument is that the final ramp design’s “unique impacts” require supplemental

environmental review. Pltfs.’ Br. at 44–45.

   Project changes do not require supplemental review unless they “present a seriously

different picture of the environmental impact of the proposed project.” Save Our Sound

OBX, Inc. v. North Carolina Dep’t of Transp., 914 F.3d 213, 221–22 (4th Cir. 2019) (in-

ternal quotation marks omitted). Here, the final EIS defined the project’s limits of disturb-

ance as the area within which all project activities—including construction, grading, clear-

ing, stormwater management, and noise barrier replacement—would occur. AR.346 (FEIS

at 5-5); AR.634–35 (FEIS at 9-23–9-24). The final EIS then calculated the project’s envi-

ronmental impacts within those limits of disturbance. AR.5099 (FEIS App. E at 2) (map

showing limits of disturbance near Live Oak Drive). Because nothing about those calcu-

lations has changed, the supplemental review that Plaintiffs advocate would be pointless.




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      Plaintiffs are also wrong to claim that they had no way to know about the changes to

the design of the Virginia flyover ramps. MDOT and the Virginia Department of Trans-

portation kept Virginians informed through regular meetings from the earliest days of the

project. Options for the ramps connecting the Maryland managed lanes to the GW Parkway

were shown in several of these meetings, including an October 2020 virtual public meeting,

September 2021 presentations to the Fairfax County Board of Supervisors, a 495 NEXT

virtual public information meeting, and a February 2022 presentation to the McLean Citi-

zens Association. See AR.21204, 21206, 21218 (FEIS App. R at 8, 10, 22). The Virginia
flyover ramps were shown as early as September 2021. See AR.155115 (slide from 495

NEXT meeting in September 2021 showing final ramp locations). Plaintiffs cannot legit-

imately claim surprise in the face of this record.

VI.      MDOT carefully avoided or minimized impacts to parks and historic proper-
         ties under Section 4(f) and Section 106.

      Like their other claims, Plaintiffs’ claims under Section 106 of the National Historic

Preservation Act and Section 4(f) of the U.S. Department of Transportation Act fail as a

matter of law. The final EIS reviewed potential impacts to 20 historic properties and parks.

Plaintiffs focus on two: Morningstar Tabernacle No. 88 Moses Hall and Cemetery (Morn-

ingstar Cemetery, for short) and the Washington Biologists Field Club on Plummers Island.

Pltfs.’ Br. at 47-59. Section 106 requires agencies to consider the effects of their actions

on historic properties but does not substantively limit those effects. See Citizens for Scenic

Severn River Bridge, Inc. v. Skinner, 802 F. Supp. 1325, 1338 (D. Md. 1991), aff’d per

curiam, 972 F.2d 338 (4th Cir. 1992). Section 106, like NEPA, is a procedural statute.

Presidio Hist. Ass’n v. Presidio Trust, 811 F.3d 1154, 1169 (9th Cir. 2016). Section 4(f),

by contrast, prohibits a transportation agency from affecting covered parks and historic

properties if there is a “prudent and feasible alternative.” 49 U.S.C. § 303(c)(1). If no such


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alternative exists, the agency must “minimize harm” to the affected parks and historic prop-

erties. 49 U.S.C. § 303(c)(2). The record shows that MDOT complied with both these

laws.

        A.     MDOT investigated and avoided impacts to Morningstar Tabernacle
               No. 88 Moses Hall and Cemetery under Section 4(f).

   In compliance with Section 4(f), MDOT engaged experts to perform historic research,

met with the local descendant community, and performed detailed investigations of this

important historic resource and sacred resting place for the surrounding Black community.

AR.476 (FEIS at 5-135–5-136). A detailed report attached to the final EIS explains how

the property’s boundaries were established. See AR.13883 (FEIS App. I, vol. 9). What

follows is a short summary.

   The initial phase of investigation included discussions with the descendants of people

whose remains are interred in the cemetery, allowing MDOT to both collect information

and understand their concerns. See, e.g., AR.6161–63 (letter from descendants). MDOT

went into the field to map the cemetery’s surface features, including burial markers, de-

pressions, and other cemetery remnants. AR.13913 (FEIS App. I, vol. 9 at 22). After that,

MDOT’s experts used ground-penetrating radar to survey places that were accessible in-

side the property boundaries and outside those boundaries but within property owned by

MDOT, also referred to as the MDOT right-of-way. AR.13915 (FEIS App. I, vol. 9 at 24).

   Investigation was made more difficult due to overgrown foliage and bamboo.

AR.13917–23 (FEIS App. I, vol. 9 at 26–32). After consulting Morningstar Cemetery

stakeholders and the Maryland State Historic Preservation Officer, MDOT helped the

Morningstar Cemetery clear some bamboo on the property. AR.13986 (FEIS App. I, vol.

9 at 95). By using ground-penetrating radar, MDOT’s experts were able to learn about

subsurface features without the risks of excavation. The full scope of the investigation is


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shown in yellow on the map below. See also AR.14241 (FEIS App. I, vol. 9, app. G at

26).

   MDOT did all this work to ensure, first, that the cemetery was accurately mapped and,

second, that the managed lanes project could avoid it. And MDOT followed the Section

106 rules by consulting with the Advisory Council on Historic Preservation, the Maryland

Historic Trust (the State Historic Preservation Officer), and a wide range of other parties

that had a demonstrated interest in historic resources. AR.395 (FEIS at 5-54); see 36 C.F.R.

§ 800.2(c). That consultation—and the ground-penetrating radar work—led the relevant
officials to concur with MDOT on the cemetery’s historic property boundaries. AR.396

(FEIS at 5-55).

   All this work, performed as part of the Section 4(f) analysis supports the conclusion

that the old access road—seen on map below as a white roadway—is the northern boundary

of the cemetery.




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AR.6029 (map in cultural resources technical report). With the cemetery’s boundaries thus

established, MDOT altered the project design to avoid any impact on it. AR.393 (FEIS at

5-52). By avoiding impacts in this way, MDOT satisfied Section 4(f). See 23 C.F.R.

§ 774.3 (requiring avoidance of Section 4(f) properties if feasible and prudent).

   Plaintiffs cannot genuinely dispute the material facts. The work by MDOT reasonably

defined the cemetery’s boundaries. That finding, as explained above, stemmed from a

thorough investigation using accepted techniques that included both archival research and

discussions with relevant parties. AR.399, 645 (FEIS at 5-58, 9-34). The northern bound-
ary of the Cemetery was reasonably understood to not cross the old access road depicted

on the map.

       B.      Using a programmatic agreement complied with Section 106.

   MDOT also acted reasonably in using a programmatic agreement to manage unantici-

pated effects and to avoid unnecessary and potentially invasive disturbance of historic re-

sources prior to NEPA approval. Plaintiffs argue that a programmatic agreement can be

used “only” for “corridors or large land areas.” Pltfs.’ Br. at 52. Even setting aside that

the managed lanes project is exactly the kind of “corridor” project that is ideal for a pro-

grammatic agreement, the Section 106 rules do not restrict programmatic agreements to

“corridors and large land areas,” as Plaintiffs claim. To the contrary, agencies enjoy flex-

ibility in their use of programmatic agreements. 36 C.F.R. § 800.4(b)(2) (allowing agen-

cies to “defer final identification and evaluation of historic properties if it is specifically

provided for in a . . . programmatic agreement”); see City of Alexandria v. Slater, 198 F.3d

862, 873-74 (D.C. Cir. 1999) (upholding phased investigation work because Section 106

rules encourage flexible, staged planning). Indeed, the Advisory Council on Historic




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Preservation says that “[p]rogrammatic agreements are the most commonly used program

alternative.” 16

      Using a programmatic agreement here was both reasonable and procedurally proper

because it avoided unnecessary, potentially damaging ground disturbance before a decision

was made. The agreement details how more investigation will occur and how MDOT will

work with the consulting parties. AR.14288 (FEIS App. J at 6). It also describes ongoing

consultation with the Friends of Moses Hall over a protective noise barrier that would face

the cemetery. AR.14296 (FEIS App. J at 14). And because the agreement was reviewed,

finalized, and executed by all required parties, it is part of the final EIS and agency deci-

sion. AR.14283 (FEIS App. J). For all these reasons, MDOT’s programmatic agreement

complied with Section 106. See CTIA-Wireless Ass’n v. FCC, 466 F.3d 105, 107 (D.C.

Cir. 2006) (“A programmatic agreement binds the agency and ‘satisfies the agency’s sec-

tion 106 responsibilities . . . .’”) (quoting 36 C.F.R. § 800.14(b)(2)(iii)).

         C.        MDOT’s planning minimized effects to Plummers Island from the nec-
                   essary replacement of a bridge.

      Plaintiffs’ final objection to the managed lanes project involves Plummers Island—a

small, ecologically diverse place in the Potomac River near the American Legion Bridge.
Plummers Island is within the C&O Canal National Historical Park. Part of the island—

the Washington Biologists Field Club on Plummers Island—is individually eligible for

listing on the National Register of Historic Places. AR.369 (FEIS at 5-28).

      Plaintiffs concede that there is no feasible and prudent way to replace the American

Legion Bridge that would avoid all parkland impacts. Pltfs.’ Br. at 55. Absent such harm-

less alternatives, FHWA’s rules for applying Section 4(f) required MDOT to take two



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     https://www.achp.gov/program_alternatives/pa.


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steps. First, MDOT had to include “all possible planning” to minimize harm from the

project. 23 C.F.R. § 774.3(a)(2). Then, MDOT had to decide which feasible and prudent

option caused the “least overall harm.” 23 C.F.R. § 774.3(c).

   To satisfy the “all possible planning” step, MDOT collaborated with the National Park

Service, which owns the C&O Canal Park, including Plummers Island. AR.548 (FEIS at

6-18). During the environmental review process, the Park Service asked MDOT to con-

sider how it might minimize acreage impacts to the C&O Canal Park, including Plummers

Island, when it replaced the American Legion Bridge. AR.369 (FEIS at 5-28). That request
led MDOT to form a “strike team” dedicated to reducing the limits of disturbance for the

bridge replacement via engineering plans, construction techniques, and bridge alignments.

AR.370 (FEIS at 5-29).

   MDOT’s strike team succeeded. The final EIS bridge design reduced impacts to Plum-

mers Island by 80 percent. FHWA’s final decision commitments and Programmatic Agree-

ment encourage additional minimization during the final design stage. AR.50 (ROD at

47). Based upon the NEPA design, when the bridge is replaced and widened as part of the

project, its new piers will permanently affect about one-tenth an acre on Plummers Island.

AR.43 (ROD at 40). Temporary construction impacts will be just 0.27 acres. AR.43 (ROD

at 40). Not satisfied, Plaintiffs now argue that Section 4(f) prohibited these effects because

MDOT and FHWA improperly rejected their preferred bridge alignment—the “west shift

alignment.” Pltfs.’ Br. at 55.

   The record shows that in rejecting the west shift alignment, MDOT and FHWA rea-

sonably applied the “least overall harm” balancing factors. See 23 C.F.R. § 774.3(c)(1).

Compared to the current bridge alignment, the west shift alignment would permanently

impact six times more protected park acreage. AR.556 (FEIS at 6-26). It would also re-

quire major reconfigurations of another parkland road interchange. AR.557 (FEIS at 6-



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27). By themselves, these factors support MDOT’s reasonable conclusion that the west

shift alignment was not a feasible and prudent alternative. See 23 C.F.R. § 774.3(c)(1)

(describing “least overall harm” analysis). But there was more: The west shift alignment

would also have required MDOT to take homes and affect the Naval Surface Warfare Cen-

ter Carderock Division property, while the approved bridge replacement would do neither.

AR.174844 (Draft Avoidance, Minimization, and Impacts for American Legion Bridge and

Plummers Island); AR.370 (FEIS at 5-29); AR.17681 (FEIS App. N). Because the Section

4(f) rules require agencies to balance the “magnitude of any adverse impacts to resources
not protected by Section 4(f),” 23 C.F.R. § 774.3(c)(1), those harms to community re-

sources were again enough to conclude that the west shift alignment was not the alternative

that caused the least overall harm. AR.557 (FEIS at 6-27); see Pltfs.’ Br. at 56.

     Plaintiffs’ counterarguments focus on MDOT’s finding that the west shift was “viable.”

Pltfs.’ Br. at 55–57. But that viability finding meant only that the alternate alignment could

be built using a “conventional construction approach.” AR.369 (FEIS at 5-30). Construc-

tability is just one aspect of the Section 4(f) analysis. See 23 C.F.R. § 774. Seen in its

entirety, MDOT’s Section 4(f) analysis was reasonable. 17

     Finally, Plaintiffs claim that Plummers Island deserves more protection than other park-

land protected by Section 4(f). Pltfs.’ Br. at 57. It is true, of course, that Plummers Island

is an important place. But so is the entire C&O Canal Park, of which Plummers Island is

only one attribute. AR.535 (FEIS at 6-5). MDOT found that it would not be feasible and

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   Plaintiffs’ arguments also ignore extensive mitigation that further reduces impacts to
parkland, including Plummers Island. AR.548–51 (FEIS at 6-18–6-21). After consulting
the Park Service and the Washington Biologists’ Field Club, MDOT committed to “slope
armoring” to mitigate any future erosion that might result from tree clearing. AR.551 (FEIS
at 6-21). MDOT will also keep evaluating mitigation options during final design that could
reduce or even eliminate physical impacts to Plummers Island. See AR.50 (ROD at 47)
(noting that the project developer “will continue to further avoid and minimize impacts
throughout the remainder of the design process to the greatest extent practicable”).


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prudent to trade a tenth of an acre of permanent impacts to Plummers Island for far more

harm to other parts of the C&O Canal Park. AR.557 (FEIS at.6-27). The Park Service,

after coordinating with MDOT, agreed. AR.558–59 (FEIS at 6-28–6-29). Because MDOT

followed the right Section 4(f) steps, and its conclusions were not arbitrary and capricious,

its decision should be affirmed.

                                     CONCLUSION

   The Court should deny Plaintiffs’ motion for summary judgment and instead grant
summary judgment to MDOT and FHWA.



                                              Respectfully submitted,

                                              Anthony G. Brown
                                              Attorney General of Maryland

                                              Linda M. DeVuono (Fed. Bar No. 08667)
                                              Office of the Attorney General of Maryland
                                              707 N. Calvert St., 4th Floor
                                              Baltimore, MD 21202
                                              Tel: (410) 530-9783
                                              ldevuono@mdot.maryland.gov

                                              Counsel for Defendants Maryland
                                              Department of Transportation and Secretary
                                              Paul J. Wiedefeld

                                              _______/s/__________________
                                              Fred R. Wagner (Fed. Bar No. 15806)
                                              Jay C. Johnson
                                              Venable LLP
                                              600 Massachusetts Ave., NW
                                              Washington, DC 20001
                                              Tel: (202) 344-4000
                                              Fax: (202) 344-8300
                                              Email: fwagner@venable.com
                                              Email: jcjohnson@venable.com


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                                Special Counsel to the Attorney General of
                                Maryland for Defendants Maryland
                                Department of Transportation and Secretary
                                Paul J. Wiedefeld




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                            CERTIFICTE OF SERVICE

   I hereby certify that on this 7th day of August, 2023, a copy of the foregoing was

served on all counsel of record via the Court’s CM/ECF system.

                                            __________/s/_____________
                                            Jay C. Johnson
